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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


IN RE: RANBAXY GENERIC DRUG
APPLICATION ANTITRUST
                                      MDL No. 2878
LITIGATION


THIS DOCUMENT RELATES TO:
                                      Master File No.
                                      19-md-02878-NMG
All End-Payor Actions


           MEMORANDUM OF LAW IN SUPPORT OF END-PAYOR LEAD
      CLASS COUNSEL’S MOTION FOR ATTORNEYS’ FEES AND PAYMENT OF
       LITIGATION EXPENSES, AND APPLICATION FOR SERVICE AWARDS
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        Pursuant to Rule 23(h) of the Federal Rules of Civil Procedure, Lead Class Counsel1 for

the End-Payor Class Plaintiffs (“EPPs”) respectfully submit this memorandum of law in support

of their motion (hereinafter, the “Fee and Expense Application”) seeking an award of 28% of the

$145,000,000 common fund ($40,600,000.00 plus interest) as attorneys’ fees and $2,268,845.61

(1.6% of the common fund) as payment for Class Counsel’s2 litigation expenses. End-Payor Class

Plaintiffs3 also seek Service Awards totaling $50,000 for the two Class Representatives, United

Food and Commercial Works Health and Welfare Fund of Northeastern Pennsylvania (“UFCW

NEPA”) and Louisiana Health Service & Indemnity Company d/b/a Blue Cross and Blue Shield

of Louisiana and HMO Louisiana, Inc. (“BCBS LA”) (collectively, the “Plaintiffs” or “Class

Representatives”) as compensation for the service that Plaintiffs provided to the Classes and the

risks they undertook as Class Representatives.

I.      INTRODUCTION

        EPPs are third-party payors, entities such as health insurers and union-sponsored health

and welfare funds, that pay for prescription drugs their members and insureds purchase. This

Action4 was brought on behalf of all EPPs in the United States who paid more than they otherwise

would have for brand or generic Diovan, Nexium, and Valcyte, as a result of the alleged

misconduct of Defendants Sun Pharmaceutical Industries Ltd. and Ranbaxy, Inc. (“Ranbaxy” or

“Defendants”). Class Counsel marshalled its resources and effectively prosecuted the case nearly

to trial, leading to a Settlement that provides real, tangible benefits to the Classes of thousands of



1
  “Lead Class Counsel” are: (1) Lowey Dannenberg, P.C. and (2) The Dugan Law Firm, APLC.
2
  “Class Counsel” are: (1) Lowey Dannenberg, P.C., (2) The Dugan Law Firm, APLC, (3) Young Law Group, P.C.
and (4) Aylstock, Witkin, Kreis & Overholtz, PLLC. Young Law Group and Aylstock, Witkin, Kreis & Overholtz,
PLLC are hereinafter referred to as “Additional Counsel.”
3
  Unless otherwise defined herein, capitalized terms have the same meaning as in the Settlement Agreement dated
April 8, 2022 (“Settlement Agreement”). ECF No. 587-1. Unless otherwise indicated, internal citations and quotation
marks are omitted and ECF citations are to the docket for this MDL.
4
  In re Ranbaxy Generic Drug Application Antitrust Litig., 19-md-02878-NMG (D. Mass.).
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EPPs. The Net Settlement Fund will be distributed to eligible Class Members upon filing of valid

proofs of claim.

        Class Counsel’s recovery is significant in light of the risks involved in litigating this

Action. Defendants fiercely contested EPPs at every turn. The most immediate risk of a potential

adverse ruling involved the impending jury trial, which was two weeks away when Lead Class

Counsel and Defendants reached this Settlement and would have almost certainly resulted in an

appeal regardless of the verdict. Despite these risks, Class Counsel—who proceeded on a

contingent fee basis, advanced millions of dollars in costs for experts and other expenses to ready

the case for trial, and, collectively, brought their decades of experience to bear to litigate this

case—secured substantial benefits on behalf of the Classes.

II.     BACKGROUND5

        A.       Case Investigation and Pleadings6

        On November 6, 2018, Lowey Dannenberg filed the first action, on behalf of Plaintiff

UFCW NEPA and EPPs in the Eastern District of Pennsylvania. The complaint asserted novel

legal theories related to antitrust monopolization and racketeering, requiring Lowey Dannenberg

to devote significant time prior to filing the complaint to ensure that there was a sound legal basis

for the claims brought under every one of the twenty-one state antitrust laws, fifteen state consumer

protection laws, and federal racketeering law. On February 11, 2019, the UFCW Action was

transferred to this Court for coordinated proceedings with three actions of the Direct Purchaser

Plaintiffs (“DPPs”). Following similar internal investigation and analyses from the perspective of



5
  The Court is aware of the background and procedural history of this case and so it will only be briefly summarized
here. A more complete description is available in the Joint Declaration of Gerald Lawrence, Esq. and James R.
Dugan II, Esq. in support of (A) End-Payor Plaintiffs’ Unopposed Motion for Final Approval of Action Settlement
and (B) End-Payor Lead Class Counsel’s Motion for an Award of Attorneys’ Fees, Litigation Expenses, and Service
Awards (the “Joint Decl.”) at ¶¶12-86.
6
  See Joint Decl., at ¶¶12-23.

                                                         2
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a large health insurer, on February 13, 2019, The Dugan Law Firm filed an action on behalf of

Plaintiff BCBS LA in this Court. Lead Class Counsel filed the Consolidated End-Payor Complaint

with Jury Demand on April 19, 2019. After two rounds of fiercely contested motion to dismiss

briefing, Lead Class Counsel sought leave to file the Second Amended Consolidated End-Payor

Class Action Complaint and Jury Demand. Defendants opposed leave to amend, which the Court

granted on March 1, 2021. On March 16, 2021, Defendants filed their Answer.

           B.       Class Counsel Engages in Significant Fact and Expert Discovery7

           Beginning in April 2019, the parties engaged in substantial fact and expert discovery. Lead

Class Counsel worked in conjunction with counsel for the DPPs (collectively with the EPPs, the

“purchasers”) to gather and synthesize facts, including documents, data and witness testimony

from, among others: Defendants, alleged co-conspirators in the RICO enterprise, the FDA, and

third-party drug manufacturers. In all, Lead Class Counsel, with assistance of Additional Counsel,

reviewed millions of pages of documents produced by Defendants and third parties. Despite the

challenges imposed by the COVID-19 pandemic, Lead Class Counsel overcame those challenges

and twenty (20) fact witnesses and (20) expert witnesses were deposed.

           C.        The EPP Classes Are Certified8

           Lead Class Counsel engaged in substantial work with their experts in order to prepare their

class certification filing. First, Lead Class Counsel worked with their damages expert, Dr. Rena

Conti, to show that there was injury to substantially all of the class members using common proof.

Lead Class Counsel and Dr. Conti analyzed documents and data from the Class Representatives,

Defendants, and third parties to demonstrate historic trends in the generic pharmaceutical

marketplace and in third-party payor purchasing habits. Lead Class Counsel also worked with Dr.


7
    See Joint Decl. at ¶¶24-45.
8
    See Joint Decl. at ¶¶46-58.

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Conti to utilize nationwide market claims data for the three drugs at issue to show impact and the

scope of damages for nationwide and state-specific classes.

           Lead Class Counsel recognized that recent class certification decisions in the First Circuit

presented significant hurdles to proving class certification. To that end, Lead Class Counsel hired

an additional expert, Ms. Laura Craft, to opine on matters related to ascertainability of the Class

Members. This required Lead Class Counsel to invest hundreds of additional hours to analyze

documents and data collected in discovery with their expert to show the richness of pharmaceutical

data and the ease at which such data could be used to identify class members.

           On November 2, 2020, Lead Class Counsel filed their motion for class certification. Lead

Class Counsel also filed opening reports for both Dr. Conti and Ms. Craft on November 2, 2020.

On February 10, 2021, Defendants filed their opposition. Defendants challenged EPPs’ ability to

show class-wide injury on several fronts, claiming that their expert’s methodology of using

average pricing masked significant variation in pricing, and that various subgroups, such as

Medicare Part D plans and so-called “brand loyalists,” within the EPPs’ classes were not injured.

Defendants also lodged multiple arguments rooted in EPPs’ state law claims. Finally, relying on

the First Circuit’s recent decision in In re Asacol Antitrust Litig.,9 Defendants claimed that EPPs’

classes were not ascertainable because they had no administratively feasible methodology for

applying class exclusions and eliminating uninjured class members.

           Lead Class Counsel worked with both Ms. Craft and Dr. Conti to thoroughly rebut the

assertions in Defendants’ opposition and in the report from defense expert Dr. Bruce Strombom in

their rebuttal reports. After oral argument from Lead Class Counsel, assisted with a slide

presentation, the Court certified the EPP Classes.



9
    907 F.3d 42, 53–54 (1st Cir. 2018).

                                                    4
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           On May 28, 2021, Defendants filed a petition pursuant to Fed. R. Civ. P. 23(f) seeking

permission to appeal the class certification Order. While the Court’s May 14, 2021 Order granted

both the DPP and EPP class certification motions, Defendants only sought to appeal the

certification of the End-Payor Classes under Rule 23(f), claiming the Court’s decision conflicted

with First Circuit precedent because the EPPs could not prove classwide injury through common

proof, rebates were relevant to antitrust injury, and the EPPs could be “brand-loyal.” Lead Class

Counsel vigorously opposed Defendants’ arguments and pointed to the substantial law developed

within the First Circuit and others that agreed with this Court’s decision, and the evidence adduced

through discovery and in expert analysis that supported the EPPs’ position. The First Circuit denied

the petition on December 21, 2021.

           While Defendants’ Rule 23(f) petition was pending, this Court approved EPPs’ plan for

providing class notice of the certified class action and appointed A.B. Data, Ltd. as Notice

Administrator on October 26, 2021. On or about November 5, 2021, notice was disseminated.

Only three opt-out requests were filed before the deadline of December 20, 2021.

           D.       Summary Judgment and Daubert Motions are Filed10

           The parties filed their respective motions for summary judgment on May 17, 2021. On the

same day the parties also filed their Daubert motions to exclude the opposing parties’ experts.

After full briefing and oral argument held on October 22, 2021, the Court denied all summary

judgment motions on November 22, 2021. At the Status Conference held on December 21, 2021,

the Court denied all Daubert motions.

           E.       Trial Preparations11

           Lead Class Counsel was actively engaged in every facet of trial preparations. This included


10
     See Joint Decl.at ¶¶59-65.
11
     See Joint Decl. at ¶¶66-80.

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designating certain witness depositions, crafting portions of the exhibit list, drafting jury

instructions, voir dire questions, and verdict slip questions. Lead Class Counsel was preparing to

be primary examiner for six live witnesses at trial, and to deliver opening and closing arguments

to the jury.

           F.       Settlement Negotiations12

           Beginning in October 2021, Lead Class Counsel and Defendants began engaging in

settlement discussions. On November 15-16, 2021, Lead Class Counsel engaged in a two-day in-

person mediation with Kenneth Feinberg. After the parties failed to reach resolution at the

mediation, periodic informal conversations between Lead Class Counsel and Mr. Feinberg

continued.

           Beginning on February 11, 2022, Lead Class Counsel and Defendants resumed active

settlement negotiations through Mr. Feinberg until Defendants made an offer on March 21, 2022

that was within the range Lead Class Counsel had analyzed to be acceptable. After several

additional days of negotiations, and with additional assistance from Mr. Feinberg to finalize certain

terms, Lead Class Counsel executed their Settlement Agreement with Defendants on April 8, 2022.

The Settlement was preliminarily approved on April 28, 2022.

           Throughout the litigation, Lead Class Counsel conducted a thorough, efficient prosecution,

and in the process avoided duplication of work among themselves or in their collaboration with

DPPs’ counsel. In light of their efforts throughout the litigation from inception through to the

settlement, the Fee and Expense Application is reasonable. The attorneys’ fee request is justified

under the percentage-of-the-fund approach and reflects a reasonable multiplier on Class Counsel’s

lodestar. If awarded, Lead Class Counsel will allocate the fees among Class Counsel in proportion



12
     See Joint Decl. at ¶¶81-86.

                                                   6
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to their contributions to this case.13 The expenses for which Class Counsel seeks payment were

reasonably incurred to achieve this excellent result for the Classes and should be paid. Finally, the

Class Representatives devoted significant time and effort to this litigation, at substantial personal

risk, and Service Awards of $25,000 to each Class Representative are also appropriate.

III.     ARGUMENT14

         A.       THE REQUESTED ATTORNEYS’ FEE AWARD IS FAIR AND
                  REASONABLE

         In class action litigation, attorneys whose work results in a common benefit for class

members are entitled to fair and reasonable fees for their work, subject to the court’s discretion.15

The First Circuit generally favors the “percentage-of-the-fund” method, in which the parties’

settlement establishes a “common fund” of money for the benefit of class members and the court

may “shape[] the counsel fee based on what it determines is a reasonable percentage of the fund

recovered for those benefitted by the litigation.”16 The percentage-of-the-fund method has distinct

structural advantages for common fund cases due to its ease in administration and efficiency, as

well as providing “appropriate financial incentives” necessary to “attract well-qualified plaintiffs’

counsel who are able to take a case to trial, and who defendants understand are able and willing to

do so.”17 From a policy standpoint, “the [percentage] method of calculating fees more



13
    See In re “Agent Orange” Prod. Liab. Litig., 818 F.2d 216, 223 (2d Cir. 1987) (recognizing class counsel may
distribute general fee award in “some relationship to the services rendered”).
14
    Class Counsel’s efforts on behalf of the Classes are described in the Joint Decl. and in the supporting Class Counsel
declarations attached thereto as Exhibits 1 through 4.
15
    See, e.g., FED. R. CIV. P. 23(h) (“[i]n a certified class action, the court may award reasonable attorney’s fees and
nontaxable costs that are authorized by law or by the parties’ agreement.”); see also In re Thirteen Appeals Arising
Out of the San Juan Dupont Plaza Hotel Fire Litig., 56 F.3d 295, 305 (1st Cir. 1995) (attorneys in common fund
cases entitled to reasonable attorney fees from fund); Bezdek v. Vibram USA Inc., 79 F. Supp. 3d 324, 349 (D. Mass.
2015) (“Attorneys in a certified class action may be awarded reasonable fees and costs.”); In re Volkswagen & Audi
Warranty Extension Litig., 89 F. Supp. 3d 155, 164 (D. Mass. 2015) (reasonable fee is question in sound discretion
of trial judge).
16
    In re Thirteen Appeals, 56 F.3d at 305; see also Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980).
17
   In re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319, 359 (S.D.N.Y. 2005); see also In re Thirteen Appeals, 56
F.3d at 308.

                                                           7
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appropriately aligns the interests of the class with the interests of class counsel—the larger the

value of the settlement, the larger the value of the fee award.”18 Courts have discretion to cross-

check the reasonableness of this award with the “lodestar” method, in which the court calculates

the fee award by “determining the number of hours productively spent on the litigation and

multiplying those hours by reasonable hourly rates.”19 The resulting lodestar may be increased by

a multiplier based on factors including the risks related to pursuing contingent fees in the case,

delay in payment, quality of representation, novelty of the law and public interest.20 As discussed

below, the requested fee award of $40,600,000 is objectively fair and reasonable under both the

percentage-of-the-fund method and lodestar method.

                  1.       The Percentage-of-the-Fund Method Supports the Lead Class
                           Counsel’s Fee Request

         Although the First Circuit has not endorsed a specified set of factors to be used in

evaluating a fee request’s reasonableness, district courts in this Circuit generally consider the

following factors: (1) the risk of the litigation and nonpayment; (2) the fee awards in similar cases;

(3) the complexity and duration of the litigation; (4) the skill, experience, and efficiency of the

attorneys involved; (5) the amount of time devoted to the case by counsel; (6) public policy

considerations; and (7) the benefit to the class.21 When many of these factors are present, courts

will often award a larger percentage of the fund (under the percentage-of-the-fund method) and/or



18
    Bussie v. Allmerica Fin. Corp., No. 97-40204-NMG, 1999 WL 342042, at *2 (D. Mass. May 19, 1999).
19
    In re Thirteen Appeals, 56 F.3d at 305, 307 (noting percentage-of fund method “better approximates the workings
of the marketplace” because it “is result-oriented rather than process-oriented, while lodestar method “encourages
lawyers to expend excessive hours” on the case).
20
    See Grendel’s Den, Inc. v. Larkin, 749 F.2d 945, 951 (1st Cir. 1984); In re Volkswagen, 89 F. Supp. 3d at 165 (“A
case that does not involve any novel issues of law or implicate the public interest, for example, may be a poor
candidate for an attorneys’ fees multiplier.”).
21
   See In re Cabletron Sys., Inc. Sec. Litig., 239 F.R.D. 30, 38 (D.N.H. 2006) (multi-factor test common approach to
determine reasonableness of fee award); accord In re Neurontin Mktg. & Sales Practices Litig., 58 F. Supp. 3d 167,
170 (D. Mass. 2014) (same); In re TJX Companies Retail Sec. Breach Litig., 584 F. Supp. 2d at 401 (noting typical
factors); In re Puerto Rican Cabotage Antitrust Litig., 815 F. Supp. 2d 448, 457-58 (D.P.R. 2011) (same); In re
Relafen Antitrust Litig., 231 F.R.D. 52, 79 (D. Mass. 2005) (same).

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a higher multiplier (under the lodestar method).22 Here, all of these factors favor Lead Class

Counsel’s fee request.

                         a)       This Case Presented Substantial Risks from Inception through
                                  Trial

         “[M]any cases recognize that the risk [of non-payment] assumed by an attorney is

 perhaps the foremost factor in determining an appropriate fee award.”23 “A contingency fee

 arrangement often justifies an increase in the award of attorneys’ fees…[otherwise] very few

 lawyers could take on the representation of a class client given the investment of substantial

 time, effort, and money especially in light of the risks of recovering nothing.”24 “Where[] lead

 counsel undertook this action on a contingency basis and faced a significant risk of non-

 payment, this factor weighs more heavily in favor of rewarding litigation counsel.”25

          This case was litigated on a fully contingent basis and presented a substantial risk of

 non-payment. For almost four years, Lead Class Counsel, assisted by Additional Counsel,

 devoted thousands of hours of attorney time and millions of dollars in expenses investigating

 the facts underlying the EPPs’ claims, defending against Defendants’ various motions,

 certifying a litigation class and preparing for trial, work for which there was no guarantee

 counsel would ever be compensated. The complexity of generic delay suits as well as Ranbaxy’s

 vigorous defense necessitated Lead Class Counsel’s considerable investment of time and

 resources, to advance EPPs’ claims and achieve the substantial settlement reached in this case.

        Lead Class Counsel also bore challenges that were unique to litigating on behalf of classes

 of indirect purchasers. For instance, because Illinois Brick Co. v. Illinois26 bars indirect

22
   See Grendel’s Den, 749 F.2d at 951.
23
   In re Lupron Mktg. & Sales Practices Litig., No. MDL 1430, 2005 WL 2006833, at *4 (D. Mass. Aug. 17, 2005).
24
   Id.; see also In re TJX, 584 F. Supp. 2d at 398 (acknowledging that fee may be enhanced to account for the
contingency risk).
25
   Medoff v. CVS Caremark Corp., No. 09-cv-554-JNL, 2016 WL 632238, at *9 (D.R.I. Feb. 17, 2016).
26
   431 U.S. 720 (1977).

                                                      9
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 purchaser claims under federal antitrust law, Lead Class Counsel brought EPPs’ antitrust claims

 under numerous individual state antitrust and consumer protection laws. This strategy required

 Lead Class Counsel to navigate several challenges. As just one example, it was unclear at the

 outset of the litigation whether the ruling on preemption in Buckman Co. v. Plaintiffs’ Legal

 Comm.27 and its progeny would apply to EPPs’ state law claims.28 Additionally, recent class

 certification decisions in the First Circuit, including the decisions in In re Intuniv Antitrust

 Litig.29 and In re Asacol Antitrust Litig.,30 presented significant hurdles to EPPs’ prosecution of

 the case on a class-wide basis, as demonstrated by other decisions in currently pending matters.31

 Defendants’ attempt to appeal only the EPPs’ class certification ruling further highlights these

 risks.32 Despite these additional uncertainties, Lead Class Counsel took the considerable risks

 of retaining a new expert to combat class certification, at their own expense, and invested

 hundreds of hours of additional attorney time, for which they might never have been

 compensated.

         Trying this case would have presented considerable additional risks, as reflected in the

mixed results of other recent antitrust trials.33 Though contested by EPPs, in their proposed verdict

slip Defendants asserted questions about the statute of limitations, Noerr-Pennington Immunity,

and mail and wire fraud, concluding with byzantine damages questions that had disjunctive

phrasing even counsel could not follow.34 If even a single lay juror declined to find for EPPs on


27
   531 U.S. 341, 347 (2001).
28
   See Joint Decl., at ¶19.
29
    No. 1:16-CV-12396-ADB, 2019 WL 3947262, at *1 (D. Mass. Aug. 21, 2019) (denying IPP class certification).
30
   907 F.3d 42 (1st Cir. 2018) (denying EPP class certification).
31
   See In re Niaspan Antitrust Litig., No. 13-MD-2460, 2020 WL 2933824 (E.D. Pa. June 2, 2020) (denying EPP
class certification over predominance concerns).
32
   See Joint Decl., at ¶55.
33
   See, e.g., In re Nexium Antitrust Litig., 842 F.3d 34 (1st Cir. 2016) (affirming verdict and entry of judgment for
defendants following a six-week jury trial in another generic suppression suit); In re Wholesale Grocery Prods.
Antitrust Litig., 957 F.3d 879 (8th Cir. 2020) (affirming verdict and entry of judgment for defendants).
34
   At the point the Settlement was reached, the Court had not yet issued a final verdict slip.

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any one of these issues, EPPs would have recovered nothing. In addition, even if EPPs were to

succeed in establishing liability, the End-Payor Classes would have been required to prove

damages. Defendants’ expert asserted in his report, and likely would have at trial, that EPPs were

entitled as little as no damages for all three drugs.35

        Nor would a favorable verdict have resolved the litigation. Defendants appealed, or

attempted to appeal, nearly every major ruling that went against them. When the DPP and EPP

Classes were certified in the Court’s May 14, 2021 class certification Order, Defendants only

attempted to appeal EPPs’ class certification. Defendants almost certainly would have appealed

any verdict in favor of EPPs, and vice versa, further jeopardizing and delaying any class recovery.

                          b) The Fee Award Is Reasonable in Light of Fee Awards in Other
                             Generic Suppression Lawsuits

        Lead Class Counsel’s twenty-eight percent attorneys’ fee request is firmly supported by

fee awards in similar cases.36 In this Circuit, percentage fee awards range from 20% to 35% of the

fund.37 End-payor generic suppression cases share certain characteristics, such as subject matter

complexity, voluminous discovery and experts, class certification difficulties, and sophisticated

and aggressive defense counsel, so the most appropriate comparators are attorneys’ fees awarded

in such suits. Among comparable end-payor generic suppression class actions, fees of 28% or

greater are by far the most common.38 Lead Class Counsel are aware of attorneys’ fee awards in

eighteen end-payor generic suppression class actions over the past decade-and-a-half. In fifteen of

these cases, fees of 33% or greater were awarded, including in all of the twelve most recent, four

from this Circuit; in two cases, fees between 30% and 33% were awarded; and in three cases, fees



35
   See Strombom Report, ECF No. 331-13 at ¶8.
36
   See Exhibit 6 to the Joint Decl., Chart of Attorneys’ Fee Awards in End-Payor Generic Suppression Class Action
Cases.
37
   In re Neurontin Mktg. & Sales Pracs. Litig., 58 F. Supp. 3d 167 (D. Mass. 2014).
38
   See Ex. 6 to Joint Decl.

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between 25% and 30% were awarded.39 Moreover, reflecting the quality of the results Lead Class

Counsel obtained, the $145 million recovery is among the largest settlements in recent end-payor

cases.40

         Here, Class Counsel’s unreimbursed efforts over the course of nearly four years culminated

in one of the largest settlements for end payors in recent history and required considerable

expenditure of skill, risk, time, and resources. Whether those efforts would result in any recovery

was unknown up until two weeks before trial in this matter was set to begin. Under the

circumstances, Class Counsel’s fee request is not only in-line with fee awards in similar cases, but

also extremely reasonable.

                           c)      Class Counsel Are Highly Skilled and Possess Extensive
                                   Expertise Litigating Pharmaceutical Class Actions

         Lead Class Counsel are among the most experienced class action and antitrust firms in the

country. In this case, Lead Class Counsel brought to bear their decades of antitrust and complex

litigation experience, including their extensive experience representing third party payors in

similar suits against pharmaceutical manufacturers and serving as lead and executive committee

counsel in many of the nation’s largest and most significant pharmaceutical antitrust cases.41


39
   See Ex. 6 to Joint Decl.; see also In re Loestrin 24 Fe Antitrust Litig., No. 1:13-MD-2472-WES-PAS (D.R.I. Feb
6, 2020), ECF No. 1401-4 (awarding 33% attorney fees); In re Solodyn (Minocycline Hydrochloride) Antitrust
Litig., No. 1:14-md-02503-DJC (D. Mass. July 18, 2018), ECF No.1176.
40
   See Ex. 6 to Joint Decl. This Court has recognized that “no special standards or presumptions categorically to
reduce fee awards” apply in so-called “mega-fund” cases, where the settlement is generally $100 million or more,
and federal district courts across the country have routinely awarded class counsel fees in excess of 30% in these
cases. Arkansas Tchr. Ret. Sys. v. State St. Bank & Tr. Co., 512 F. Supp. 3d 196, 239 (D. Mass. 2020); see also In re
Urethane Antitrust Litig., No. 04-1616-JWL, 2016 WL 4060156, at *6 (D. Kan. July 29, 2016) (awarding 33.33%
fee on $835 million settlement and a 3.2 multiplier, noting “Counsel’s expert has identified 34 megafund cases with
settlements of at least $100 million in which the court awarded fees of 30 percent or higher”); Dahl v. Bain Capital
Partners, LLC, No. 07-cv-12388 (D. Mass. Feb 2, 2015), ECF No. 1095 (awarding 33% fee of $590 million
settlement).
41
   See e.g. In re Generic Pharmaceuticals Pricing Antitrust Litigation, No. 16-md-2724 (E.D. Pa.) (Lowey
Dannenberg representing three direct-action plaintiffs and Dugan Law Firm on plaintiffs’ steering committee); Blue
Cross Blue Shield Ass’n, et al. v. GlaxoSmithKline LLC, No. 13-4663-JS (E.D. Pa.) (Lowey Dannenberg
representing forty health insurance plans alleging RICO violations as a result of misrepresentations about safety of
drugs manufactured at unsafe plant); In re: National Prescription Opiate Litigation, No. 17-md-02804 (N.D. Ohio)
(Dugan Law Firm member of plaintiffs’ executive committee).

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         Despite facing considerable obstacles, Class Counsel were able to employ their skill and

experience here to obtain an excellent recovery for the End-Payor Classes. This suit was

particularly complex, as it involved multiple liability theories (i.e., antitrust, consumer protection

and RICO) and required a deep understanding of patent, antitrust, and pharmaceutical regulatory

law, as well as the facts particular to this case. Ranbaxy, a multi-national pharmaceutical company,

retained counsel who employed an aggressive litigation strategy. Accordingly, the quality of

representation provided by Class Counsel supports the fee request.

                           d)       This Case Was Extremely Complex

         “The complexity of [] antitrust law is well known.”42 “[A]ntitrust class actions are

 notoriously complex, protracted, and bitterly fought.”43 In antitrust cases, “[t]he ‘best’ case can

 be lost and the ‘worst’ case can be won, and juries may find liability but no damages. None of

 these risks should be underestimated.”44 This case was no exception. Lead Class Counsel, on

 behalf of the EPPs, asserted an attempted monopolization theory. As to two of the three drugs,

 Lead Class Counsel would have had to persuade the jury that Defendants exerted monopoly

 power for drugs they had not yet sold. On top of antitrust law and damages economic damages

 theories that are present in antitrust cases, the case required mastery in patent and drug law, and

 competency in the science and manufacturing processes behind pharmaceutical products. For

 example, Lead Class Counsel was preparing an expert to testify at trial on bioequivalence testing

 of Nexium for administration through nasogastric tubes. The RICO claim further required an

 understanding of racketeering law. Defendants’ aggressive litigation strategy added to this

 complexity.

42
   Puerto Rican Cabotage, 815 F. Supp. 2d at 459.
43
   Id.
44
   In re Superior Beverage/Glass Container Consol. Pretrial, 133 F.R.D. 119, 127 (N.D. Ill. 1990); see also In re
Flonase Antitrust Litig., 951 F. Supp. 2d 739, 743 (E.D. Pa. 2013) (“Antitrust class actions are particularly complex
to litigate”).

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                          e)       Class Counsel Litigated with Diligence and Efficiency

        The extensive time and effort Class Counsel expended in prosecuting this action favors

Counsel’s requested fee award.45 In total, Class Counsel devoted 18,733 hours to pursuing, and

ultimately obtaining, a recovery on behalf of the End-Payor Classes. The amount of time Class

Counsel invested was necessary and appropriate in light of the length of the litigation, the

complexity of the claims and defenses, and the prowess of the Defendants’ attorneys. The

extensive efforts taken to achieve and maintain certification of the Classes, described in detail in

section II.C above, is just one piece of the substantial work Class Counsel expended in all aspects

of the case. Class Counsel actively litigated this case for almost four years. During that period, as

described above and in the accompanying declaration, Lead Class Counsel, as assisted by

Additional Counsel, briefed and largely defeated, two rounds of motions to dismiss; engaged in

extensive discovery; successfully obtained certification of the End-Payor Classes and defeated an

attempted appeal to the First Circuit; briefed summary judgment motions; filed and defended

against Daubert challenges and motions in limine; prepared the case for trial, and successfully

negotiated a substantial settlement for the End-Payor Classes.46

        In performing these tasks for the benefit of the End-Payor Classes, Lead Class Counsel

made every effort to be efficient, in terms of both time spent and ensuring counsel and staff handled

these tasks with appropriate skill and experience. Lead Class Counsel reviewed the time to ensure

that all work performed was for the common benefit, nonduplicative, or excessive. To that end,

each firm was notified that billing spent in connection with the leadership negotiations, certain

administrative tasks, and this attorneys’ fee and expense request would be disallowed. In order to



45
    Puerto Rican Cabotage, 815 F. Supp. 2d at 461 (where counsel “spent significant, but not excessive, time
prosecuting the instant action…this factor points in favor of Lead Counsel's fee request”).
46
   In re Relafen, 231 F.R.D. at 80.

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avoid duplication of effort, Lead Class Counsel worked together with counsel for the DPPs to

divide tasks and focus on the pertinent legal questions and factual record. When appropriate,

counsel for the EPPs and DPPs groups jointly retained experts, ensuring that the purchasers spoke

with a single voice on common issues and reducing each group’s costs.

                           f)       The Classes Substantially Benefit from the Settlement

         The benefits “actually accruing to the class is an important consideration in assessing the

 reasonableness of the fee award.”47 This is to ensure that the class action mechanism “delivers

 relief into the hands of those in whose name it was established-the class.”48

         The Settlement here represents an excellent recovery for End-Payor Class Members. Lead

 Class Counsel obtained a substantial recovery of $145,000,000 for the benefit of the thousands

 of EPPs constituting the Classes. The Settlement is all cash, is not based on the claims received,

 and does not permit any reversion of funds to Defendants. As a result, to the extent any Class

 Members do not submit claims, that portion of the Net Settlement Fund will be redistributed to

 those Class Members that do submit claims. The EPPs’ $145 million Settlement is among the

 largest in recent generic suppression end-payor cases, and more than three times as large as the

 typical end-payor settlement.49 Class Members will greatly benefit.

                           g)     Class Counsel’s Requested Fee Furthers the Public Interest in
                           Incentivizing End-Payor Suits Challenging Anticompetitive Practices
                           by Pharmaceutical Companies

          Class Counsel’s attorneys’ fees request is consistent with public policy objectives.

 Courts have recognized that attorneys’ fee awards should reflect the important goal of

 “providing lawyers with sufficient incentive to bring common fund cases that serve the public



47
   In re TJX, 584 F. Supp. 2d at 402.
48
    Id. at 406.
49
   See Joint Decl. at Ex. 6.

                                                    15
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 interest.”50 Antitrust class actions advance the public interest both by deterring predatory

 behavior and compensating those who have been wronged.51 “In the absence of adequate

 attorneys’ fee awards, many antitrust actions would not be commenced, since the claims of

 individual litigants, when taken separately, often hardly justify the expense of litigation.”52

          The rising cost of pharmaceuticals is among the most pressing issues facing our

 country.53 The public interest in attracting experienced and sophisticated litigators is particularly

 salient in suits challenging anticompetitive practices in the health care industry, as drug

 companies think of new ways to game the system, at the expense of EPPs. Once they’re found

 out, defendant pharmaceutical companies have vast resources and retain top-tier defense firms

 that typically pursue aggressive litigation strategies. Reasonable attorneys’ fees are necessary to

 ensure that such suits attract equally adept class counsel who are incentivized to invest the time

 and resources necessary to obtain recoveries for the class. The End-Payor Classes contain not

 only health insurers, but also small employer and union-sponsored health and welfare funds,

 like Class Representative UFCW NEPA. Absent the class action vehicle, these small plans most

 likely would have no recourse against rampant industry abuse.54 The benefits of these actions

 are felt not only by class members, but ripple out to the public and future plaintiffs, as favorable

 rulings push the law forward for future cases.55


50
   Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 51 (2d Cir. 2000).
51
   Lupron, 2005 WL 2006833, at *6 (“The public interest is also served by the defendants’ disgorgement of the
proceeds of predatory marketplace behavior.”).
52
   Alpine Pharmacy, Inc. v. Chas. Pfizer & Co., Inc., 481 F.2d 1045, 1050 (2d Cir. 1973).
53
   Ashley Kirzinger et al., KFF Health Tracking Poll – May 2021: Prescription Drugs, KAISER FAMILY
FOUNDATION (June 3, 2021), https://www.kff.org/health-costs/poll-finding/kff-health-tracking-poll-may-
2021/prescription.
54
   See Puerto Rican Cabotage, 815 F. Supp. 2d at 463 (“Class action plaintiffs’ attorneys provide an invaluable
service by aggregating the seemingly insignificant harms endured by a large multitude into a distinct sum where the
collective injury can then become apparent.”); Mazola v. May Dep’t Stores Co., No. 97-cv-10872-NG, 1999 WL
1261312, at *4 (D. Mass. Jan. 27, 1999) (class actions “give[] voice to relatively small claimants who may not be
aware of statutory violations or have an avenue to relief. . . . the only way in which to make such actions
economically feasible is to award [attorneys’ fees.]”).
55
   Lead Class Counsel’s efforts here benefitted class members in other pending litigation. See, e.g., Notice of

                                                        16
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                 2.       The Lodestar Cross-Check Further Supports the Reasonableness of
                          Class Counsel’s Fee

          Class Counsel’s lodestar confirms the reasonableness of their fee request. When lodestar

 is used as a cross-check, “the focus is not on the ‘necessity and reasonableness of every hour’

 of the lodestar, but on the broader question of whether the fee award appropriately reflects the

 degree of time and effort expended by the attorneys.”56 Class Counsel expended over 18,733

 hours resulting in a total lodestar of more than $13,804,000.57 These hours were reasonable and

 necessary to litigate this case effectively and to achieve the best possible recovery on behalf of

 the Classes. The Settlement was only reached after Class Counsel conducted an extensive factual

 investigation and legal analysis. As described above and in the Joint Declaration, Lead Class

 Counsel devoted significant time and efforts to litigating this action. Given the (relatively) short

 but intense duration of the case over the past four years, the hours Class Counsel accrued for all

 of this work are reasonable.

        Additionally, the billing rates Class Counsel charged for this work are reasonable.

Reasonable hourly rates are those rates “prevailing in the community for similar services by

lawyers of reasonably comparable skill, experience, and reputation.”58 When a case is national in

scope, the relevant community may be a location other than the forum, or even the national legal

community, and the relevant rates are the out-of-town or “nationally prevailing rates” for similar

attorneys’ services.59 Here, the litigation required the expertise of counsel experienced in class



Supplemental Authority in Support of Motion for Class Certification by End-Payor Plaintiffs, In re: Opana ER
Antitrust Litig., 1:14-cv-10150 (N.D. Ill. May 18, 2021), ECF No. 722.
56
   Tyco Intern., Ltd. Multidistrict Litig., 535 F. Supp. 2d at 270.
57
   Joint Decl., at ¶¶91-93.
58
   Giorgio v. Duxbury, No. 12-11171-LTS, 2016 WL 3983232, at *2 (D. Mass. July 25, 2016).
59
   See, e.g., Williams v. Poulous, Nos. 94-2057, 94-2058, 1995 WL 281451, at *4 (1st Cir. May 12, 1995) (“out-of-
town rates may be applied if the complexities of a particular case require that particular expertise of non-local
counsel . . . or ‘when the case is an undesirable one which capable attorneys within the forum community are not
willing to prosecute or defend[.]’”); Spruill v. Alexander, No. 09-292S, 2011 WL 2413837, at *4-5 (D.R.I. Mar. 31,
2011); (applying out-of-town rates because of attorneys’ expertise); Lucas v. Kmart Corp., No. 99-cv-01923-JLK-

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actions and the highly specialized area of generic drug suppression cases on behalf of EPPs. Class

Counsel brought claims on behalf of nationwide classes, as well as state subclasses under the laws

of several states. Class Counsel are based out-of-state, i.e., New York, Pennsylvania, and

Louisiana. Class Counsel’s rates are comparable to those charged in national, complex class

actions, and have been previously accepted by this Court.60

          Class Counsel worked to ensure that the reported lodestar is based only on the time spent

 for the common benefit of the End-Payor Classes. As described above, each Class Counsel

 firm’s time reports were reviewed by Lead Class Counsel and certain time was excluded. Class

 Counsel have also submitted declarations from each firm providing additional detail on the work

 performed, as well as support for their hourly rates.61 The twenty-eight percent fee request

 represents only a moderate enhancement, a 2.94 multiplier, over Class Counsel’s reported

 lodestar. This enhancement appropriately reflects the fact that counsel performed all work on a

 contingent basis, forgoing payment for several years. Indeed, courts, including this one, have

 recognized that multipliers greater than that requested here are reasonable in comparable suits,

 and so should it be deemed here.62

        B.       THE REQUESTED EXPENSES ARE REASONABLE

          Class Counsel seeks reimbursement of $2,268,845.61 in litigation expenses that were



CBS, 2006 WL 2729260, at *4 (D. Colo. July 27, 2006) (“[T]he relevant community for purposes of determining a
reasonable billing rate for Class Counsel likely consists of attorneys who litigate nationwide, complex class
actions.”).
60
   See Barr v. Drizly, LLC, No. 1:20-CV-11492 (D. Mass. Nov. 4, 2021) (ECF. No. 72) (awarding attorney fees).
61
   See Exs. 1 through 4 to Joint Decl..
62
   See, e.g., Mooney v. Domino’s Pizza, Inc., No. 1:14-cv-13723, 2018 WL 10232918, at *1 (D. Mass. Jan. 23, 2018)
(applying a lodestar multiplier of 4.77); Gordan v. Mass. Mut. Life Ins. Co., No. 13-cv-30184, 2016 WL 11272044,
at *3 (D. Mass. Nov. 3, 2016) (applying a lodestar multiplier of 3.66); In re Neurontin Mktg. and Sales Practices
Litig., 58 F. Supp. 3d 167 (D. Mass. 2014) (applying a lodestar multiplier of 3.32;) New England Carpenters Health
Benefits Fund v. First Databank, Inc., No. 05-11148, 2009 WL 2408560, at *2 (D. Mass. Aug. 3, 2009) (applying a
lodestar multiplier of 8.3); Bussie, 1999 WL 342042 (awarding fee 3.32 times attorney lodestar). See also In re
Relafen, 231 F.R.D. at 81-82 (noting vast majority of fee awards in cases with $50-200 million common funds had
multipliers between 1.0 and 4.0).

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 reasonably incurred in prosecuting this action. The First Circuit has recognized that “lawyers

 whose efforts succeed in creating a common fund for the benefit of a class are entitled not only

 to reasonable fees, but also to recover from the fund, as a general matter, expenses, reasonable

 in amount, that were necessary to bring the action to a climax.”63

          The substantial majority of expenses (75%) were paid out of common litigation funds,

 to which Class Counsel firms contributed. These funds were used to pay a variety of expenses

 that benefited the class, including the costs of testifying and consulting experts, the document

 review platform, remote deposition expenses, trial support, jury research and mediation services.

 Litigation fund expenses amounted to $1,698,955.64. In addition to those expenses, individual

 firms separately incurred a total of $569,889.97 in expenses. A more detailed breakdown of

 expenses is reflected in the attached Joint Declaration of Lead Class Counsel.64 Lastly, the court-

 appointed claims administrator, A.B. Data, has advised Class Counsel that it estimates it will

 cost no more than $225,000 to complete the claims distribution process.65

         C.       THE REQUESTED SERVICE AWARDS ARE REASONABLE.

         EPPs request Service Awards of $25,000 to each of the two Class Representatives in

connection with the Settlement. Courts routinely approve service awards “to compensate named

plaintiffs for the services they provided and the risks they incurred during the course of the class

action litigation.”66 “In granting [service] awards to named plaintiffs in class actions, courts



63
   In re Fidelity/Micron Sec. Litig., 167 F.3d 735, 737 (1st Cir. 1999); see also Latorraca v. Centennial Techs. Inc.,
834 F. Supp. 2d 25, 28 (D. Mass. 2011) (“In addition to attorneys’ fees, lawyers who recover a common fund for a
class are entitled to reimbursement of out-of- pocket expenses incurred during litigation.”).
64
   See Joint Decl., at ¶¶100-101; see also Bezdek, 79 F. Supp. 3d at 351-52 (finding “costs associated with
mediation, legal research, filing fees, consultation with experts, photocopying, and travel to hearings, depositions,
and meeting…reasonable.”).
65
   See Joint Decl., at ¶103; see also Exhibit 5 to Joint Decl., Declaration of Eric J. Miller Regarding (A) Mailing of
the Postcard Notice; (B) Publication of Summary Notice; and (C) Report on Objections and Requests to Speak at
Fairness Hearing Received To Date (“Miller Decl.”), at ¶14.
66
   Carlson v. Target Enter., Inc., No. 18-40139, 2020 WL 1332839, at *3 (D. Mass. Mar. 23, 2020).

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consider not only the efforts of the plaintiffs in pursuing the claims, but also the important public

policy of fostering enforcement of laws and rewarding representative plaintiffs for being

instrumental in obtaining recoveries for persons other than themselves.”67

         The requested awards are consistent with those approved for class representatives in other

 end-payor generic delay suits,68 as well as those approved in other class suits in this circuit.69

 Moreover, because they represent only 0.034% of the total value of the Settlement, the proposed

 Service Awards would have a negligible impact on other Class Members’ recoveries. The

 substance of the Class Representatives’ work on this litigation further supports the End-Payors’

 requested awards.70 The Class Representatives actively participated in the litigation, stayed

 abreast of the progress of the case, collected and produced documents and responded to

 interrogatories, and prepared for and gave depositions. Because this case settled two weeks

 before trial, both Class Representatives expended considerable time and effort preparing to

 testify. The Class Representatives performed these services over many years despite the risk

 that there would be no recovery for the End-Payor Classes. Further, granting the Service Awards

 promotes a public policy of encouraging individuals to undertake the responsibility of

 representative lawsuits.71




67
   Bussie, 1999 WL 342042, at *3.
68
   Order at 4, In re Solodyn, No. 1:14-md-02503-DJC (D. Mass. July 18, 2018), ECF No. 1176 ($20,000 service
award to TPP class representative and $145,000 total in service awards); Order at 10, In re Aggrenox Antitrust Litig.,
No. 3:14-md-02516-SRU (D. Conn. July 19, 2018), ECF No. 821 (awarding $100,000 total in service awards); In re
Neurontin, 58. F. Supp. 3d 167 (awarding $25,000 to each TPP class representative).
69
   See Spicer v. Chi. Bd. Options Exchange, Inc., 844 F. Supp. 1226, 1267-68 (N.D. Ill. 1993) (collecting cases
approving service awards ranging from $5,000 to $100,000); Lauture v. A.C. Moore Arts & Crafts, Inc., No. 17-CV-
10219, 2017 WL 5900058, at *1 (D. Mass. Nov. 28, 2017) (reflecting service awards of $15,000 to each class
representative; In re Prudential Ins. Co. of Am. SGLI/VGLI Contract Litig., No. 3:10-CV-30163, 2014 WL 6968424,
at *7 (D. Mass. Dec. 9, 2014) (reflecting service awards of $10,000 to each of 10 class representatives).
70
   See In re Lupron, 2005 WL 2006833, at *7 (“[W]here, as here, the named plaintiffs participated actively in the
litigation,” such awards “serve an important function in promoting class action settlements.”).
71
   See In re Relafen, 231 F.R.D. at 82 (“Because a named plaintiff is an essential ingredient of any class action, an
incentive award can be appropriate to encourage or induce an individual to participate in the suit.”).

                                                         20
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IV.    CONCLUSION

       For the foregoing reasons, Lead Class Counsel respectfully requests: (i) attorneys’ fees in

the amount of $40,600,000 plus interest; (ii) expenses reimbursed in the amount of $2,268,845.61

and approval to expend up to $225,000 to complete the settlement distribution process; and (iii)

Service Awards of $25,000 for each of the two Class Representatives.



Dated: June 27, 2022                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2022, a true copy of the foregoing document was served

on all counsel of record by electronic transmission and/or electronically filing the document with

the Court’s CM/ECF system.

                                                                                /s/Renee A. Nolan




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